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                    ADMINISTRATIVE DIRECTIVE

SUBJECT:      Inmate Grievance Procedure

NUMBER:       09-01                                       SUPERSEDES: 07-03

APPLICABILITY:         All employees and inmates          PAGE: 1 of 28

REFERENCE: AR 835: Grievance Procedure for Offenders

APPROVED: Original signed by Larry Norris                 EFFECTIVE DATE: 01/30/2009

I.     POLICY:

       It is the policy of the Arkansas Department of Correction to provide inmates in its
       custody an administrative mechanism for the resolution of complaints, problems and
       other issues.

II.    EXPLANATION:

       A grievance procedure is an administrative means for the expression and resolution of
       inmate problems and complaints. The mechanism is designed to solve the problem at the
       lowest level, as immediately as feasible, and in a manner that is fair, reasonable and
       consistent with the Department of Correction’s mission.

       The administrative mechanism for the resolution of complaints and identification of
       problem areas is intended to supplement but not replace daily or routine communication
       between staff and inmates.

III.   DEFINITIONS:

       A.     Informal Resolution – the first step involving a written complaint (Unit Level
              Grievance Form, Attachment I) by an inmate that is intended to allow staff the
              opportunity to resolve an issue on an informal basis; and a requirement to

                                                                              Exhibit A to Defts'
                                                                              Mot. for Partial MSJ
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                submitting a formal grievance. (Note: Inmates alleging sexual assault, physical
                abuse, or sexual misconduct/harassment by staff are not required to complete step
                one, but should file a formal grievance (step two) directly to the Warden. Also
                note that an inmate cannot grieve on behalf of another inmate.

        B.      Grievance – the second (formal) step where a written complaint using the same
                form used for the Informal Resolution (Unit Level Grievance Form, Attachment I)
                is submitted by an inmate on the inmate’s own behalf (an inmate cannot grieve on
                behalf of another inmate) regarding:

                1.      A policy applicable within his or her unit/center of assignment that
                        personally affects the inmate;

                2.      A condition in the facility that personally affects the inmate;

                3.      An action involving an inmate(s) of his or her facility that personally
                        affects the inmate;

                4.      An action of an employee(s), contractor(s), or volunteer(s) at his or her
                        facility that personally affects the inmate; or

                5.      An incident occurring within his or her facility that personally affects the
                        inmate.

        C.      Warden – the Warden or Center Supervisor of the facility or designee.

        D.      Appeal – a written request to a Chief Deputy/Deputy/Assistant Director for
                further action to resolve the issue or complaint in the grievance based upon the
                inmate’s belief that the issue has not been resolved at the Unit level. (The appeal
                cannot raise new or additional issues or complaints.)

        E.      Working Days – Monday through Friday, excluding state observed holidays.

        F.      Emergency – a problem, that if not immediately addressed, subjects the inmate to
                a substantial risk of personal injury or other serious and irreparable harm such as
                sexual assault, physical abuse, sexual misconduct or sexual harassment.
                Emergency grievances may be submitted without the completion of step one, the
                informal process; however, if the grievance is found to not involve a substantial
                risk of personal injury or serious and irreparable harm, it will be returned to the
                problem solver and processed under Step One.

        G.      Non-Grievable Issues – the following matters are not grievable:

                1.      Parole;

                2.      Release;
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                3.      Transfer;

                4.      Job Assignments unless in conflict with medical restrictions;

                5.      Disciplinaries;

                6.      Anticipated events (i.e., events or activities which may or may not occur
                        in the future);

                7.      Matters beyond the control of the Department of Correction, including
                        issues controlled by State or Federal law or regulation;

                8.      Requests for disciplinary action against employees, contractors, or
                        volunteers;

                9.      Claims for monetary damages;

                Note: Claims of Retaliation, even if related to an issue referenced above, are
                grievable.

        H.      Problem-Solving Staff – staff designated at each facility to serve as a contact for
                resolution of a problem or complaint, and specifically, to resolve step one issues
                raised in this process. A list of these individuals will be posted in each housing
                unit.

        I.      Medical Department – Health Services Administrator (HSA) or designee.

        J.      Mental Health Supervisor – the Department of Correction employee supervising
                the mental health staff and programs at the unit level.

IV.     PROCEDURES:

        The inmate grievance procedure is an internal administrative means for the resolution of
        complaints and the identification of potentially problematic management areas; however,
        it does not replace daily and routine communication between inmates and staff. Prior to
        filing a formal grievance, inmates must first attempt to resolve the complaint informally
        by taking Step One under this policy.

        One form (Attachment I) will be used for both Step One (informal resolution), and for
        Step Two (formal grievance). This same form will be used to submit all inmate
        grievance issues, including emergencies.

        A.      Adoption of Procedure
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                When adopting changes to this procedure, that affect the inmate grievance
                process, proposed changes shall be posted in prominent locations (to include
                employee and inmate bulletin boards) throughout the institution at least 30 days
                prior to the adoption of the procedure/changes. All comments shall be considered
                prior to adoption of the changes and shall be kept as part of the appropriate policy
                file documentation. Inmates in isolation units will be provided a copy by the
                Grievance Officer at least 30 days prior to the adoption of the procedure/changes.

        B.      Communication of Procedure

                1.      Written notification of the Inmate Grievance Procedure will be distributed
                        to both inmates and employees. In addition, arriving inmates and new
                        employees will have an opportunity to ask questions about the procedure
                        and have them answered verbally.

                2.      If an inmate has a disability affecting communication or is not fluent in the
                        English language, interpretive or explanatory services will be made
                        available.

                3.      All employees at the facility level shall receive training by designated staff
                        in the skills necessary to assist or participate in the inmate grievance
                        procedure.

        C.      Accessibility

                All inmates shall be entitled to utilize this procedure regardless of their security
                status, custody level, job classification, disciplinary status or any administrative/
                judicial decisions affecting the inmate.

                1.      Copies of this policy shall be available for examination in each Unit’s Law
                        Library.

                2.      The forms shall be readily available to any inmate in any housing area at
                        any time.

                3.      Inmates may request one copy of their grievance from the facility
                        grievance staff upon presenting a completed Section 1983 lawsuit or
                        Claims Commission claim. The Inmate also needs to give the grievance
                        number for the particular grievance he/she is requesting.

                4.      Grievances must specifically name each individual involved for a proper
                        investigation and response to be completed by ADC. Inmates must fully
                        exhaust the grievance prior to filing a lawsuit. Inmates who fail to name
                        all parties during the grievance process may have their lawsuit or claim
                        dismissed by the court or commission for failure to exhaust against all
                        parties.
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        D.      Completion of Forms

                1.      Inmates who have difficulty completing the grievance forms should
                        request assistance from staff.

                2.      The Unit Level Grievance Form should only address one problem/issue
                        and not multiple problems/issues. An inmate must use a separate form for
                        each issue. Only one issue will be addressed and additional
                        problems/issues contained in the grievance will not be considered as
                        exhausted. Remember that exhaustion of a grievance is required prior to
                        filing a lawsuit under the Prison Litigation Reform Act of 1995.

                3.      If the inmate is legally using a name other than the name under which he
                        or she was committed to the Arkansas Department of Correction, both the
                        legal and commitment names shall be used when completing the forms.

                4.      All forms should be filled out in black or blue ink. Those written in pencil
                        may be accepted from inmates whose security status does not allow access
                        to ink pens. Tape and other adhesive substances should not be used on
                        any grievance forms.

                5.      If any Grievance Form is received in an unsanitary condition, that form(s)
                        may be photographed and logged and/or held for evidence for appropriate
                        disciplinary action against the inmate. Unsanitary forms will not be
                        processed.

        E.      Step One: Informal Resolution Procedure

                Inmates are required to attempt informal resolution of a problem/complaint prior
                to filing a grievance.

                1.      The Unit Level Grievance Form (Attachment I) shall be completed and
                        submitted within 15 days after the occurrence of the incident, with the date
                        beside “Step 1: Informal Resolution” filled in.

                2.      On the Unit Level Grievance Form (Attachment I), in the space provided,
                        the inmate should write a brief statement that is specific as to the
                        substance of the issue or complaint to include the date, place, personnel
                        involved or witnesses, and how the policy or incident affected the inmate
                        submitting the form.

                        Additional sheets should not be attached and will be returned to the inmate
                        upon submission or as soon as practical. ONLY THE STATEMENT IN
                        THE SPACE PROVIDED WILL BE MAINTAINED AND
                        CONSIDERED PART OF THE GRIEVANCE SUBMISSION.
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                3.      The Unit Level Grievance Form (Attachment I) should be presented to one
                        of the individuals whose name is posted in the housing unit as a
                        designated problem-solver. At this time the problem-solver must sign and
                        date the form, giving the inmate back the yellow and pink copies as
                        receipts.

                4.      After receipt of the informal complaint (Attachment I), the problem-solver
                        will:
                         (a) meet with the inmate within three working days to resolve the issue; or
                         (b) meet with the inmate immediately to resolve the issue if it is an
                        emergency; or
                        (c) refer medical issues to the HSA (examples include, but are not limited
                        to: missed medications, inability to access medical services, failure to be
                        seen at Sick Call or clinic appointments, or failure to receive lab or test
                        results) as soon as practical, but in any event within one working day; or
                        (d) refer mental health issues to the Mental Health Supervisor as soon as
                        practical, but in any event within one working day.

                5.      An emergency situation is one in which the inmate is subjected to a
                        substantial risk of physical harm such as sexual assault, physical abuse,
                        staff sexual misconduct, or staff sexual harassment. It should not be
                        declared for ordinary problems that are not of a serious nature. If the
                        inmate believes the matter to be an emergency, he/she will fill in the date
                        beside “Emergency Grievance” on the Unit Level Grievance Form to
                        designate an emergency, and present the form to any staff, but preferably
                        the designated problem-solving staff. If that staff determines that an
                        emergency situation does exist, corrective action shall be taken within
                        twenty-four (24) hours. If no emergency is determined, the informal
                        resolution form shall be processed within the normal time limits stated
                        within this policy.

                6.      Upon receipt of a Unit Level Grievance Form submitted under Step One,
                        the HSA, or medical department representative appointed by the
                        HSA, or the Mental Health Supervisor will take whatever action is
                        deemed clinically appropriate to fully resolve the problem, document the
                        action taken, or state why no action is necessary or appropriate, and will
                        sign the form in the space provided for the staff signature which is found
                        on the same line as the inmate signature following the description of the
                        action taken to resolve the complaint. Please note the staff signature
                        should NOT be in the space provided for the signature of the designated
                        problem-solver.

                7.      As soon as practical, the HSA, medical staff, or Mental Health
                        Supervisor will return the Unit Level Grievance Form to the inmate, and
                        provide a copy to the Grievance Officer. NOTE: In no event should this
                        time frame exceed three (3) working days from submission of the Unit
                        Level Grievance Form for Step One by the inmate to the problem-solver.
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                        The HSA or Mental Health Supervisor or designee should not respond to a
                        grievance that is alleging misconduct by that individual against the inmate;
                        however, where the inmate still has another step in the grievance process
                        to challenge the conduct and/or the inmate is alleging indirect misconduct
                        (failure to act) as opposed to direct misconduct, such as physical abuse or
                        retaliation, by the HSA or the Mental Health Supervisor, then the Regional
                        Manager or Mental Health Administrator will respond after the medical or
                        mental health department has appropriately logged the resolution.

                8.      The HSA or Mental Health Supervisor will retain a copy for their records
                        and for quality improvement purposes.

                9.      If the problem (those not referred to medical or mental health
                        departments) can be resolved at the informal level, the problem-solver
                        documents the action taken on the Unit Level Grievance Form
                        (Attachment I) and then both the inmate and the problem-solver must sign
                        and date the form.

                10.     If the problem cannot be resolved at Step One, the informal level, the
                        problem-solver must still document the resolution attempt on Attachment
                        I, and then the inmate and the problem-solver must sign and date the form.
                        At this time, if the inmate chooses, he/she may now proceed to Step Two
                        (the formal grievance) using this same form (Attachment I). See
                        procedures for Step Two below.

                11.     If the designated problem-solver (or substituted person to resolve the issue
                        such as a medical or mental health staff member) has failed to contact the
                        inmate and attempt resolution of the complaint or failed to return Step One
                        (the grievance) within the designated three working days period, the
                        inmate may proceed to Step 2, the formal grievance, without the
                        completion of Step 1. In that instance, Step 2, the formal grievance, must
                        be filed no later than six (6) working days from the submission of the Unit
                        Level Grievance Form pursuant to Step 1: this allows three (3) working
                        days to wait for a response to Step 1, and three (3) working days to initiate
                        Step 2. (These are not three (3) additional days, i.e., if the problem-solver
                        returns Step One on the day it was submitted, the inmate has only three (3)
                        working days from receipt of that response to file Step Two.) The inmate
                        will submit a copy of his Unit Level Grievance Form using the pink copy
                        he retained following the instructions for Step Two.

                12.     Whether or not the problem is resolved, the inmate retains the yellow
                        copy, a copy may be retained by the designated problem-solver, and a
                        copy is forwarded to the Grievance Officer for entry into the offender
                        tracking system if necessary.

                13.     If an inmate has been transferred from the Unit where the incident or issue
                        arose within the fifteen (15) days allowed to file Step One and the inmate
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                         submits Step One at a different Unit, if the problem-solver, HSA, or
                         Mental Health Supervisor cannot address the issue, then the response to
                         Step One should be “proceed to Step Two.” Upon submission of Step
                         Two, the Grievance Officer will complete portion of the Unit Level
                         Grievance Form indicating the date received and to whom it was sent and
                         immediately forward the grievance to the Grievance Officer at the unit
                         where the incident or issue arose to process with a grievance number from
                         that Unit. The deadlines will remain the same under this procedure to
                         submit the grievance steps, and to respond with the date of submission to
                         the first Grievance Officer beginning the response time.

        F.        Step Two, the Formal Grievance Procedure

                  After attempting to resolve their issue through Step One, informal resolution, an
                  inmate can proceed to Step Two by filing a formal grievance on the same Unit
                  Level Grievance Form (Attachment I) that was used for Step One.

             1.          The inmate should complete the date beside “Step Two: Formal
                         Grievance” and the section regarding resubmission (of this form) as to
                         why the inmate considers the informal resolution unsuccessful, and
                         deposit it into designated grievance box; or submit it to a Staff Member if
                         the inmate’s assignment prevents access to the grievance box. The
                         Grievance Officer shall collect grievance forms daily, excluding weekends
                         and holidays.

             2.          Additional sheets cannot be attached to the Unit Level Grievance Form
                         and only information in the space provided will be considered part of the
                         grievance submission. New issues cannot be added to the form and will
                         not be considered.

             3.          Upon receipt, the Grievance Officer shall complete the box for “office use
                         only” on the Unit Level Grievance form by assigning a number to the
                         grievance (using unit and subject codes as described in the Grievance
                         Procedure Codes-Attachment VII), and logging the date the grievance was
                         received, inmate’s name, ADC number, and sufficient information to
                         obtain the nature of the complaint into eOMIS.

                         (a)     All medical issues will be coded 600 by the Unit Grievance
                                 Officer. All mental health issues will be coded 630.

                         (b)     The Medical and Mental Health Departments will assign specific
                                 type codes as indicated on Attachment VII into eOMIS when
                                 completing the response to the grievance.

             4.          The Grievance Officer shall then transmit an Acknowledgement of the
                         Grievance Form (see Attachment II) to the inmate within five (5) working
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                        days after receipt. No acknowledgment is required if a written response to
                        the grievance, signed by the Warden, Health Services Administrator, or
                        Mental Health Supervisor or their designees, can be provided within five
                        (5) working days.

            5.          The Grievance Officer will note whether the grievance is medical or
                        mental health related. If so, these grievances will be forwarded as soon as
                        possible, and in no event later than five (5) days, to the appropriate
                        medical or mental health department for investigation and response to the
                        inmate.


                        (a)     If the grievance is medical in nature, it is forwarded to the Health
                                Services Administrator (HSA) at the Unit Infirmary for a response.
                                The HSA, or designee, should not respond to a grievance that is
                                alleging misconduct by that individual unless the inmate still has
                                another step in the grievance process to challenge the conduct or
                                the inmate is alleging indirect misconduct (failure to act); where
                                the inmate is alleging direct misconduct (such as physical abuse or
                                retaliation), by the HSA then the appropriate Regional Manager
                                will respond after the medical department has appropriately logged
                                the resolution

                        (b)     If the grievance relates to mental health services, the supervisor of
                                mental health services for the facility, or the designee, will answer
                                the grievance. The Mental Health Supervisor, or designee, should
                                not respond to a grievance that is alleging misconduct by that
                                individual unless the inmate still has another step in the grievance
                                process to challenge the conduct or the inmate is alleging indirect
                                misconduct (failure to act); where the inmate is alleging direct
                                misconduct (physical abuse or retaliation), by the Mental Health
                                Supervisor, then the Mental Health Administrator at Central Office
                                will respond after the mental health department has appropriately
                                logged the resolution

                 6.     The Inmate Grievance Worksheet (see Attachment VIII) may be used by
                        staff when investigating grievances.

                 7.     Every inmate shall receive a written response on either the form entitled
                        Warden/Center Supervisor Decision (Attachment III) to his or her
                        grievance, signed by the Warden or the Warden’s designee within 20
                        working days of receipt (or less if an emergency situation) or the form
                        entitled Health Services Response to Unit Level Grievance (see
                        Attachment IV) if the grievance has been forwarded to the medical or
                        mental health department for a response within this same 20 working days.
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                        The Unit Level Grievance Response/Decision shall include:

                        (a)     the reason for the decision, in clear, well reasoned terms; and

                        (b)     a statement that the Grievance:
                                has merit and requires further action for resolution; or
                                has merit, but is being resolved; or
                                had merit but has been resolved; or
                                has no merit.

                8.      If an inmate has not received a response to his/her Unit Level Grievance
                        within the allotted time frame as stated on the Acknowledgement Form
                        and/or the Extension Form, if applicable, the inmate may move to the next
                        level of the process, an appeal to the Chief Deputy/Deputy/Assistant
                        Director’s Level within five (5) working days.

                        The Grievance Extension Form will be used in cases where a longer
                        period of time is required for a response or resolution of the problem. The
                        inmate shall be notified by the responding authority, in writing, of the
                        reason for the delay and its expected length on the Grievance Extension
                        Form (see Attachment X). Time limits for responding will be extended
                        automatically upon the completion of the Grievance Extension Form
                        (Attachment X), unless the inmate disagrees in writing to the extension. If
                        the inmate does not agree to the Extension, the inmate understands and
                        agrees that, with that decision, no further action will be taken on the issue,
                        and the grievance will be returned to the inmate without a decision on its
                        merit. By disagreeing with the extension, the inmate waives his or her
                        right to have the grievance issue considered.

        G.      Steps to Appeal the Unit Level Grievance Decision:

                After receiving a response from the Warden, the Health Services Administrator
                (HSA), the Mental Health Supervisor, or their designees, if the inmate is not
                satisfied, he or she may appeal within five (5) working days to the appropriate
                Chief Deputy/Deputy/Assistant Director who will attempt to resolve the matter or
                assign an appropriate staff member to do so.

                1.      The appeal should be written in the space provided on the original
                        Warden/Center Supervisor’s Decision Form (Attachment III) or the Health
                        Services Response to Unit Level Grievance Form (Attachment IV) for
                        medical or mental health grievances entitled Inmate’s Appeal (see
                        Attachment III and IV) returned by either the Warden, the Health Services
                        Administrator, or the Mental Health Supervisor or designees.
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                2.      The inmate should include the original Unit Level Grievance Form (see
                        Attachment I), which describes the matter originally grieved, and either
                        the Warden/Center Supervisor Decision Form (Attachment III) or the
                        Health Services Response to Unit Level Grievance (Attachment IV). If
                        these two (2) pages are not submitted with the inmate’s appeal portion
                        completed, the appeal may be returned to the inmate as rejected.

                        The inmate should also sign the statement of appeal portion, and complete
                        his ADC number, the date of the appeal, and the reason for disagreeing
                        with the Warden’s or Health Services’ decision, or the appeal may be
                        returned to the inmate as rejected.

                3.      The Chief Deputy/Deputy/Assistant Director may process grievance
                        appeals not meeting the criteria set forth above when necessary for the
                        safety and security of the Department; however, further processing of the
                        appeal where the inmate has failed to complete the required steps is in the
                        sole discretion of the appropriate Chief Deputy/Deputy/Assistant Director.

                4.      Appeals relating to medical or mental health issues are submitted to the
                        Deputy Director for Health and Correctional Programs.

                        All other grievances go the appropriate Chief Deputy/Deputy/Assistant
                        Director for Institutions.

                5.      Receipt of filing shall be acknowledged in writing within five (5) working
                        days to the inmate by the Chief Deputy/Deputy/Assistant Director’s Office
                        (see Attachment V) unless a written response to the grievance signed by
                        the Chief Deputy/Deputy/Assistant Director can be provided within five
                        (5) working days.

                6.      The Chief Deputy/Deputy/Assistant Director will respond in writing to the
                        inmate concerning the decision within thirty (30) working days unless the
                        appeal is rejected and the inmate is notified of the reason for rejection on
                        the Acknowledgment of Grievance Appeal/Rejection of Appeal form (see
                        Attachment V). A written decision or rejection of an appeal at this level is
                        the end of the grievance process.

                7.      The Grievance Extension Form will be used in cases where a longer
                        period of time is required for a response or resolution of the problem. The
                        inmate shall be notified by the responding authority, in writing, of the
                        reason for the delay and its expected length on the Grievance Extension
                        Form (see Attachment X). Time limits for responding will be extended
                        automatically upon completion of the Grievance Extension Form
                        (Attachment X), unless the inmate disagrees in writing to the extension. If
                        the inmate does not agree to the Extension, the inmate understands and
                        agrees that, with that decision, no further action will be taken on the issue,
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                        and the grievance will be returned to the inmate without a decision on its
                        merit. By disagreeing with the Extension, the inmate waives his or her
                        right to have the grievance issue considered.

                8.      The entire grievance procedure must be completed within seventy-six (76)
                        working days unless a valid extension has been executed, or it can be
                        documented that unforeseen circumstances have occurred.

                9.      Release of the inmate from custody will normally terminate his or her
                        grievance, unless the parties are under court order to exhaust remedies or
                        the grievance highlights a problem that needs to be addressed at the
                        discretion of the Chief Deputy/Deputy/Assistant Director.

        H.      Remedies

                A grievance with merit will be afforded a reasonable range of meaningful
                remedies.

                1.      The responsible authority will review the conditions, policies or practices
                        grieved and take appropriate action.

                2.      When a higher authority than the responding authority must authorize
                        appropriate action, the lower authority shall note its agreement or
                        disagreement with the inmate and transmit the completed grievance form
                        to the higher authority with notice to the inmate.

                3.      The department is to encourage the resolution of grievances found to have
                        merit involving property losses, confiscations or forfeitures through the
                        return of the property or replacement.

                4.      Errors in record keeping may be corrected and action by the staff or
                        Classification Committees may be modified as appropriate.

                5.      No grievance should be discussed between employees and/or inmates
                        except as necessary to obtain statements to resolve the issues.

                6.      No employee should respond to a grievance that is alleging misconduct by
                        that employee against the inmate unless the inmate still has another step in
                        the grievance process to challenge the conduct or the inmate is alleging
                        indirect misconduct (conduct by omission); where the inmate is alleging
                        direct misconduct (such as physical abuse or retaliation) by the employee,
                        the employee may not respond to the grievance.
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        I.      Allegations of Abuse

                Any credible allegations of excessive force, sexual contact, assault or similar
                physical abuse of an inmate will be forwarded to the Internal Affairs Division for
                an investigation consistent with Arkansas Department of Correction policies.

        J.      Abuse of the Grievance Procedure

                Abuse of the grievance procedure by inmates will be dealt with in the following
                manner:

                1.      Excessive Use of the Procedure

                        (a)     Step One, Informal Resolutions, are limited to five (5) due to
                                excessive submissions causing a delay in processing inmate
                                grievances. The Warden or his designee must maintain a record of
                                five (5) submissions each week before rejecting one from that
                                inmate. Only the first five (5) informal grievances, Step One, will
                                require a response. The seven-day period will begin each Saturday
                                and end on Friday. The submissions that exceed the limit will be
                                marked as “No action necessary-exceeds weekly limit,” followed
                                by the staff person’s name, signature and date verifying that person
                                verified (1) that five (5) submissions under Step One had already
                                been received from the inmate that week, and (2) it was not an
                                emergency, and the form returned to the inmate.

                        (b)     Inmates are only allowed to submit three formal grievances, Step
                                Two, each seven-day period which begins each Saturday and ends
                                on Friday. Only the first three formal grievances, Step Two,
                                submitted each week by an inmate requires an investigation and
                                response. This limit includes both institutional and medical or
                                mental health grievances. All other formal grievances will be
                                logged and reviewed to determine if an emergency exists. If it is
                                determined to be an emergency situation, action will be taken
                                promptly to resolve the issue; however, a written response to the
                                inmate is not required. If no emergency exists, the grievance will
                                be logged out on the same day received, and it shall be written on
                                the Unit Level Grievance Form “No action necessary-exceeds
                                weekly limit,” dated and signed. The original grievance will then
                                be placed in the grievance file and no written response will be
                                given to the inmate.

                        (c)     If the formal grievance is of a medical nature, but exceeds the
                                inmate’s limit for weekly submission, the grievance officer will
                                note at the top of the grievance form “EXCEEDS WEEKLY
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                                LIMIT.” The formal grievance will then be forwarded to the
                                medical or mental health department to determine if an emergency
                                exists. If the medical or mental health departments determine the
                                grievance to be an emergency, the Health Services Administrator
                                or Mental Health Supervisor will ensure that prompt action is taken
                                to resolve the issue; however, a written response to the inmate is
                                not required. If neither the medical nor mental health departments
                                determine the grievance to be an emergency, it will be noted at the
                                top of the grievance form, “not an emergency” beside the
                                “EXCEEDS WEEKLY LIMIT” statement, dated and signed by the
                                Health Services Administrator or Mental Health Supervisor and
                                returned to the Grievance Officer for filing.

                2.      Frivolous and Vexatious (Harassing) Use of the Procedure

                        (a)     Frivolous or Vexatious submission at any step will be processed as
                                “without merit” and returned to the inmate after being properly
                                logged by the grievance officer.

                        (b)     A submission is frivolous when it is clearly insufficient on its face
                                to allege an issue or concern and is readily recognizable as devoid
                                of merit and insufficient for resolution or appeal.

                        (c)     A submission is vexatious when it merely agitates, harasses or
                                irritates by petty provocation and is not designed to lead to any
                                practical result, resolution, or appeal.

                3.      Use of Indecent or Vulgar Language

                        Inmates who use the grievance procedure to direct threats, or indecent or
                        vulgar language at another person shall be referred to the appropriate
                        disciplinary authorities in accordance with the disciplinary rules and
                        procedures. The submission will be processed if it is neither frivolous nor
                        vexatious, if it otherwise complies with this policy.

                4.      Malicious Use of the Procedure

                        (a)     Any inmate who knowingly makes false statements in a
                                submission for the purpose of harming another person may be
                                charged with the appropriate disciplinary offense. The submission
                                will be processed if it is neither frivolous nor vexatious, if it
                                otherwise complies with this policy.

                        (b)     The following procedure is to be followed when it is suspected that
                                an inmate has knowingly made false statements for the purpose of
                                harming another person. The problem-solver will forward the
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                                informal grievance to the Grievance Officer; however, no officer,
                                including the problem-solver, shall file an incident report or
                                disciplinary based on the alleged false statements in the informal
                                grievance. The Grievance Officer will make an independent
                                review of the informal grievance to determine if a disciplinary
                                should be filed against the inmate. If the Grievance Officer
                                concludes there is a sufficiently strong case for proving that the
                                inmate has made objectively false statements about someone, then
                                the Grievance Officer will report those findings to the
                                Deputy/Assistant Warden. The Deputy/Assistant Warden, or
                                designee, may write and submit a disciplinary report for processing
                                or request further investigation by Internal Affairs.

        K.      Reprisals or Retaliation

                1.      No inmate shall suffer any threat or action based on his or her appropriate
                        use of, or participation in, the grievance procedure. If an inmate believes
                        he/she has been retaliated against for the use of the grievance procedure,
                        he/she must contact the Warden/Center Supervisor or in a case of alleged
                        retaliation by the Warden/Center Supervisor the inmate shall contact the
                        appropriate Chief Deputy/Deputy/Assistant Director. Regardless, the
                        inmate must exhaust their remedies through the grievance process.

                2.      Under such circumstances as described in section J.3 and 4, the Chief
                        Security Officer or Deputy/Assistant Warden, or their designee, will
                        determine if a disciplinary report is warranted. If so, only the Chief
                        Security Officer or Deputy/Assistant Warden, or their designee, may write
                        and submit the disciplinary report for processing.

                3.      Any reprisals or retaliation by staff is absolutely prohibited and will be
                        dealt with in accordance with the appropriate policy regarding employee
                        conduct and discipline. All personnel shall receive written and oral notice
                        that formal and/or informal reprisals will not be tolerated.

                        The Training Academy has implemented a training program regarding
                        inmate problem resolutions and complaints. The training is mandatory for
                        all staff involved in the inmate grievance process.

                4.      Once an inmate initiates the grievance process, the process shall be
                        followed through all stages without interference by administrators or
                        employees of the department.

                        Anytime an inmate voluntarily decides to withdraw a grievance, he or she
                        must submit a Grievance Waiver Form (see Attachment IX). The
                        appropriate staff will verify receipt of the waiver in writing.
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                5.      If reprisal or retaliation is suspected and/or determined after the unit/center
                        investigation, the grievance shall be forwarded to Internal Affairs for
                        further review with all relevant documentation.

        L.      Records

                1.      Each designated administrator at each level of response shall collect and
                        systematically maintain records regarding the filing and disposition of
                        grievances. These records may be maintained pursuant to the
                        Department’s record retention policy in either hard copy or in a retrievable
                        form, as well as in the inmate’s electronic record, and shall be available
                        for inspection as required by law.

                2.      At a minimum, such records shall include aggregate information regarding
                        the numbers, types and disposition of grievances, as well as individual
                        records of the dates and reasons for each disposition at the formal
                        grievance (Step Two) and appeal stages of the procedure and shall be
                        logged in the electronic offender records system. Such records shall be
                        preserved in accordance with the policy regarding records retention.

                3.      Records regarding the participation of an individual in grievance
                        proceedings shall not be available for review by any inmate(s) other than
                        the grievant.

                4.      Grievance records, including statements and testimony provided during
                        the process, are confidential and are not available to inmates. Department
                        personnel other than those directly involved in the grievance process may
                        not have access to the information, unless the person’s job requires access
                        to such records.

                5.      Except as otherwise provided by Arkansas law, grievance records will not
                        be available to non-departmental personnel other than those representing
                        the Department of Correction or providing services such as imaging or
                        destruction of records under an agreement with the Department of
                        Correction.

                6.      No entries concerning grievances, or an inmate’s participation in a
                        grievance proceeding through testimony or submission of evidence shall
                        be recorded in the inmate’s paper institutional file.

                7.      Only those positions authorized by the appropriate Chief
                        Deputy/Deputy/Assistant Director will have access to the Grievance
                        Tracking Program.
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        M.      Evaluation

                1.      Monthly, quarterly and annual reports may be generated from the tracking
                        system.

                2.      Records of staff efforts at problem solving may be considered by
                        supervisors evaluating the performance of staff.

        N.      Prison Litigation Reform Act Notice

                Inmates are hereby advised that they must exhaust their administrative remedies
                as to all defendants at all levels of the grievance procedure before filing a Section
                1983 lawsuit and Claims Commission claim. If this is not done, their lawsuits or
                claims may be dismissed immediately.

                Inmates must attach a copy of the Chief Deputy/Deputy/Assistant Director’s
                response to any petition or complaint; otherwise the court or commission may
                dismiss the case without notice.

                Inmates are also advised that they shall be subject to paying filing fees in Federal
                Court pursuant to the Prison Litigation Reform Act of 1996.

V.      REFERENCES:

        ACA Standards: 4-4127, 4-4284, 4-4394
        Prison Litigation Reform Act of 1995

VI.     ATTACHMENTS:

        Attachment I – Unit Level Grievance (Informal Resolution/Formal Grievance/Emergency Grievance)
        Attachment II – Acknowledgment of Unit Level Grievance
        Attachment III – Warden/Center Supervisor’s Decision/Inmate Appeal
        Attachment IV – Health Services Response to Unit Level Grievance
        Attachment V – Acknowledgment of Grievance Appeal/Rejection of Appeal
        Attachment VI – Chief Deputy/Deputy/Assistant Director’s Decision
        Attachment VII – Grievance Codes
        Attachment VIII – Inmate Grievance Investigation Worksheet
        Attachment IX – Grievance Waiver
        Attachment X – Grievance Extension


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                                                                                                       FOR OFFICE USE ONLY
UNIT LEVEL GRIEVANCE FORM (Attachment I)
                                                                                                    GRV. #_____________________
Unit/Center ___________________________
                                                                                                    Date Received: ______________
Name __________________________________
                                                                                                    GRV. Code #: _______________
ADC# ___________ Brks # ______________ Job Assignment _____________
________ (Date) STEP ONE: Informal Resolution
________ (Date) STEP TWO: Formal Grievance (All complaints/concerns should first be handled informally.)
                   If the issue was not resolved during Step One, state why:______________________________
                   ___________________________________________________________________________
________ (Date) EMERGENCY GRIEVANCE (An emergency situation is one in which you may be subject to a
substantial risk of physical harm; emergency grievances are not for ordinary problems that are not of a serious
nature.) If you marked yes, give this completed form to the designated problem-solving staff, who will sign the
attached emergency receipt. If an Emergency, state why: __________________________________________
_________________________________________________________________________________________
Is this Grievance concerning Medical or Mental Health Services? _____ If yes, circle one: medical or mental
BRIEFLY state your one complaint/concern and be specific as to the complaint, date, place, personnel involved
and how you were affected. (Please Print): _____________________________________________________
_________________________________________________________________________________________
_________________________________________________________________________________________
_________________________________________________________________________________________
_________________________________________________________________________________________
_________________________________________________________________________________________
_________________________________________________________________________________________
_________________________________________________________________________________________

____________________________________________                      ___________________________________
Inmate Signature                                                  Date
 ___ If you are harmed/threatened because of your use of the grievance process, report it immediately to the
Warden.
                            THIS SECTION TO BE FILLED OUT BY STAFF ONLY
This form was received on ____________ (date), and determined to be Step One and/or an Emergency Grievance
_______ (Yes or No). This form was forwarded to medical or mental health? _______ (Yes or No). If yes, name of
the person in that department receiving this form and date: _______________________ Date ______________.
____________________________ __________ _________________________                      __________________
PRINT STAFF NAME (PROBLEM-SOLVER)            STAFF CODE        Staff Signature                              Date Received
Describe action taken to resolve complaint, including dates: _____________________________________________
______________________________________________________________________________________________
______________________________________________________________________________________________
______________________________________________________________________________________________
________________________________________                                ______________________________________________
Staff Signature & Date Returned                                         Inmate Signature & Date Received__________________
This form was received on _________ (date), pursuant to Step Two. Is it an Emergency? _______ (Yes or No).
Staff Who Received Step Two Grievance: ___________________________________ Date: __________________
Action Taken: _____________________ (Forwarded to Grievance Officer/Warden/Other) Date: _______________
If forwarded, provide name of person receiving this form: __________________________ Date: _______________
----------------------------------------------------------------------------------------------------------------------------------------------
Receipt of Emergency Grievance: Print Officer’s name: __________________ Signature: __________________
Received from Inmate: ____________________________ ADC #__________ Date/Time: ____________________
DISTRIBUTION: YELLOW & PINK – Inmate Receipts; BLUE-Grievance Officer; ORIGINAL-Given back
to Inmate After Completion of Step One and Step Two, but Inmate is required to submit for an Appeal.
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                                                                                                 Attachment II

                       ACKNOWLEDGMENT OF UNIT LEVEL GRIEVANCE


TO: Inmate                                                                 ADC#

FROM:                                                        TITLE:

RE: Notification of Grievance Received         Grievance #
DATE:

Please be advised I have received your Grievance dated                            on                   .


You should receive communication regarding the Grievance by                                            .




Signature of Grievance Officer/ARO


                                   CHECK ONE OF THE FOLLOWING

________      This Grievance will be addressed by the Warden/Center Supervisor or designee.

________      This Grievance is of a medical nature and has been forwarded to the Health Services
              Administrator who will respond.

________      This Grievance involves a mental health issue and has been forwarded to the Mental Health
              Supervisor who will respond.

________      This Grievance has been determined to be an emergency situation, as you so indicated.

              Action Taken: _________________________________________________________

              _____________________________________________________________________


________      This Grievance has been determined to not be an emergency situation because you would
              not be subject to a substantial risk of personal injury or other serious irreparable harm.
              Your Grievance will be processed as a non-emergency.
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                                                                                                    Attachment III

INMATE NAME ___________________________ ADC# ___________ GRIEVANCE # ____________

                   WARDEN/CENTER SUPERVISOR’S DECISION




Signature of Warden/Supervisor or Designee                      Title                                        Date




                                        INMATE’S APPEAL
If you are not satisfied with this response, you may appeal this decision within five working days by filling in the
information requested below and mailing it to the appropriate Chief Deputy/Deputy/Assistant Director. Keep in
mind that you are appealing the decision to the original complaint. Do not list additional issues, which are not a part
of your original grievance as they will not be addressed.

WHY DO YOU DISAGREE WITH THE ABOVE RESPONSE?




Inmate Signature                                                ADC#                                         Date
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                                                                                                 Attachment IV

Inmate Name: _______________________ ADC#_____________ Grievance #___________
        HEALTH SERVICES RESPONSE TO UNIT LEVEL GRIEVANCE




______________________________________________________________________________________________           _____________
Signature of Health Services Administrator/Mental Health Supervisor or Designee & Title                  Date

If follow up by Health Services Staff is required, are the details included in the response above?
Yes _______ or, No follow up is necessary _______

                                           INMATE’S APPEAL
If you are not satisfied with this response, you may appeal this decision within five working days by filling in the
information requested below and mailing it to the Deputy Director for Health & Correctional Programs. Keep in mind
that you are appealing the decision to the original grievance. Do not list additional issues which were not a part of
your original grievance as new issues will not be addressed.

WHY DO YOU DISAGREE WITH THE RESPONSE GIVEN ABOVE?




_________________________________________                          ___________________                   ___________
Inmate Signature                                                   ADC#                                  Date
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                                                                                         Attachment V

               Acknowledgment of Grievance Appeal, or Rejection of Appeal


TO: Inmate                                                             ADC #

FROM:                                                         TITLE:

RE: Receipt of Grievance Appeal #                              DATE:

Please be advised your Appeal dated                   was received in my office on

You will receive communication from this office regarding this Grievance by                     ,

OR,

Your grievance appeal is being returned pursuant to Administrative Directive 07-03/Administrative
Regulation 835 due to one of the following:

______ The time allowed for appeal has expired.

______ The matter is non-grievable and does not involve retaliation.

        ________Parole and/or Release matter

        ________Transfer

        ________Job Assignment

        ________Disciplinary matter

        ________Matter beyond the Department’s control and/or matter of State/Federal law

        ________Involves an anticipated event

        ________Request disciplinary action against employee, contractor, or volunteer

        ________Claim for monetary damage

_____ You did not send all the proper Attachments:

        ________ Unit Level Grievance Form (Attachment I)

        ________ Warden’s/Center Supervisor’s Decision (Attachment III); or Health Services
                 Response (Attachment IV for Health Issues Only)

        _________ Did not give reason for disagreement with Response on Attachment III or IV

        _________ Did not complete Attachment III or IV by signing your name, ADC #, and/or the date

        _________ Unsanitary form (s) or documents received

        _________ Other:
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                                                                                                 Attachment VI

INMATE NAME ___________________________ ADC# ___________ GRIEVANCE # ___________

        CHIEF DEPUTY/DEPUTY/ASSISTANT DIRECTOR’S DECISION




_________________________________________________________                              ______________________
                SIGNATURE                                                                      DATE


Please be advised that if you appeal this decision to the U.S. District Court, a copy of this Chief Deputy/Deputy/Assistant
Director’s Decision must be attached to any petition or complaint or the Court may dismiss your case without notice. You may
also be subject to paying filing fees pursuant to the Prison Litigation Act of 1995.
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                                                                                                     Attachment VII
                                                                                                               2 pages
                                              GRIEVANCE CODES

                                      GRIEVANCE PROCEDURE CODES
Each Unit/Center is assigned a unit code as follows:

BC Boot Camp                            RLW Randall L. Williams Facility       PB Pine Bluff Unit
BU Benton Unit                          MC Mississippi County Work             TU Tucker Unit
CU Cummins Unit                         Release                                TX Texarkana Regional Correctional
DR Delta Regional Unit                  MCP McPherson Unit                     Center
DU Diagnostic Unit                      MX Maximum Security Unit               VU Varner Unit – population
EA East Arkansas – population           NC North Central Unit                  VSM Varner Super Max
EAM East Arkansas – Max Sec             OR Ouachita River Corr. Unit           WR Wrightsville Unit
GR Grimes Unit                          NW Northwest AR Work Release
HA Hawkins Unit

Which is succeeded by the last two digits of the calendar year, followed by a five digit sequential number beginning
with 00001 (i.e., CU-03-00001).


                                          GRIEVANCE TYPE CODES

100 Transfer                                                          503       Inmate Funds
    101      Unit Transfer                                            504       Sanitation – Showers, etc.
    102      Interstate Compact                                       505       Inmate Property Claims
                                                                      506       Clothing – Bedding/Footwear
200   Institutional Assignment                                        507       Activity Rotation
      201        Cell Barracks                                        508       Living Conditions
      202        Job                                                  509       Working Conditions
      203        Classification                                       510       Grooming
      204        Enemy Alert List                                     511       Recreation
      205        Protective Custody                                   512       Searches
      206        Punitive                                             513       Contraband/Confiscation Forms
      207        Administrative Segregation                           514       Alternative Meals
      208        School/Vocation Training                             515       Hunger Strike
      209        Rehabilitation Programs                              516       Diet
      210        Counselors
      211        Investigative Status – DCR                     600 Medical
      212        48 Hour Relief Privileges                          601         Denial of Treatment
                                                                    602         Harassment or Abuse
300 Communication                                                   603         Records
    301     Visits (non-legal)                                      604         Footwear/Orthotics
    302     Telephone                                               605         Sick Call – not otherwise specified
    303     Radio/Television/Movie                                              605NS Sick Call, requested not
    304     Interview Request                                                                    seen
    305     Unit Policy/ADC Policy                                              605NSS Sick Call, no security
    306     Publication                                                                          escort
    307     Mail                                                                605NST Sick Call, not seen timely
    308     Marriage                                                            605MD Sick Call, MD/mid-level
                                                                                                  referred not seen
400 Disciplinary Matters                                              606       Vision
                                                                      607       Food/Special Diet
500   Institution Operations
      501        Food/Food Services                                   608       Medication/Pill Call – not otherwise
      502        Commissary                                                            specified
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                                                                                                                     Attachment VII
                                                                                                                                 2 pages
                                                     GRIEVANCE CODES

                  608NG Medication not given                                      715       No Further Action is Necessary
                  608NRO Medication not reordered                                           (NFAN)
                  608ME Medication error                                          716       Freedom of Information Act (FOIA)
                  608PER Pharmacy error                                           717       Multiple Issues Grieved
                  608MHM Mental Health meds.                                      718       Welfare
                        missed                                                    719       Copies Made
                                                                                  720       Retaliation - other
      609       Medical Classification
      610       Hearing                                                  800      Complaints Against Staff
      611       Housing conditions (medical reasons)                              801   Physical Abuse
      615       Orthopedic                                                        802   Verbal Abuse
      619 Other                                                                   803   Other Complaints Against Staff
      620 Dental
      621 Dental Prosthetics                                             900      Other
      622 Medical Appointments (outside not                                       901       Good Time
                        otherwise specified)                                      902       Furlough
                                                                                  903       Other Complaints Against
      630         Mental Health                                                                     Inmates/Cellmate
      631         Mental Health Appointments                                      904       Time Computation
      632         Mental Health – Medication side                                 905       Hobby Craft
                         effects                                                  906       Religion
      633         Mental Health – Housing                                         907       Parole Matters
                                                                                  908       Discrimination (Race, Religion, Sex,
700      Legal                                                                                      etc).
         701      Access to courts                                                909       Name Change
         702      Indigent Inmate Supplies                                        910       Urine Testing
         703      Law Books/Pages                                                 911       Work Release
         704      Law Library                                                     912       Maintenance
         705      Legal Visits with Inmate                                        913       Grieving for Another Inmate
         706      Other Legal Visits                                              914       Detainer Removed
         707      Retaliation/Harassment – Use of
                           the Grievance Process
         708      Retaliation/Harassment – Access to
                           Courts Rights
         709      Notary Services
         710      Access to Grievance Forms
         711      Storage of Legal Materials
         712      Legal Mail
         713      No Response to Grievance
         714      Other Legal Matters


The below listed inmate has filed a grievance/appeal with this office. Please give a detailed statement in regards to the issue(s)
stated by the inmate in this grievance. The statement, “I have no knowledge,” is not acceptable. Also, please submit any
supporting documentation with your response, (i.e., disciplinary, 005’s, logs, medical information, other officer and/or inmate
statements, etc.).

EMPLOYEE:                                                                  UNIT:
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RE: INMATE:                                                              ADC#

FROM:                                                                    DUE DATE:

GRIEVANCE #:                                          DATE & TIME OF INCIDENT

Inmate’s Complaint:
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________

                                            EMPLOYEE STATEMENT BELOW

STATEMENT: ______________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________
____________________________________________________________________________________


____________________________________________________________                                       ___________________
       Responding Staff Signature                                                                         Date

You are not to retaliate against this inmate in any shape, form or fashion for submitting this grievance. If you are found to have
retaliated against any inmate for using the grievance procedure, you will be subject to disciplinary action, which may be a verbal
warning, a written warning, and/or termination.
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                                                                                         Attachment IX
                                      GRIEVANCE WAIVER


TO:                                                          DATE:

FROM:                                                        SUBJECT:




I, _______________________________________________, ADC# ____________________, do hereby
agree that grievance number ________________________, dated ___________________, has been
resolved/and/or, I no longer want to pursue this matter. This decision is voluntary and made without threats or
coercion of any type.




___________________________________________
               Inmate Signature


___________________________________________
               Date


___________________________________________
               Witness Signature


___________________________________________
               Date
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                                                                                      Attachment X

                                 GRIEVANCE EXTENSION

TO: Inmate                                                        ADC#

FROM:                                                     TITLE:

DATE:                                             GRIEVANCE #

ADDITIONAL TIME IS NECESSARY IN ORDER TO:
_____________________________________________________________________________________________________
_____________________________________________________________________________________________________
_____________________________________________________________________________________________________
___________________________________________________________________________________________________________
_____________________________



YOU WILL RECEIVE COMMUNICATION FROM THIS OFFICE BY: ______________________________


This extension is automatic unless you specifically disagree; if you agree to the extension then
no action is required on your part. If you DO NOT agree to an extension, check DISAGREE,
complete the signature line and return the original to this office. If you do not agree, you
understand that, with your decision, NO FURTHER ACTION will be taken on this issue, you
WILL NOT have exhausted your administrative remedies, and your grievance will be returned
to you without a decision regarding its merit.
____________ DISAGREE              By disagreeing with this extension, I waive my right to have this
                                   grievance issue considered.


___________________________________________ ADC# ______________ DATE: _____________
        Inmate Signature



________________________________________________________________ DATE: _____________
        Warden/Center Supervisor Signature



________________________________________________________________ DATE: _____________
      Chief Deputy/Deputy/Assistant Director/Director Signature
